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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Arthur L Lewis Jr, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:98−cv−05596
                                                      Honorable Joan B. Gottschall
City of Chicago, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 30, 2024:


        MINUTE entry before the Honorable Joan B. Gottschall: Enter memorandum
opinion and order denying without prejudice the pending motion [763] to enforce
judgment and issue a rule to show cause. Consistent with the accompanying order, in the
future, previously−unnamed class members must apply to intervene under Federal Rule of
Civil Procedure 24, and any attorney wishing to be appointed or substituted as class
counsel must file an appropriate motion under Rule 23(g).Mailed notice(mjc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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